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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                           8:09CR251
                                    )
            v.                      )
                                    )
TROY HOLLENBECK,                    )                   PRELIMINARY ORDER
JON WHITAKER,                       )                     OF FORFEITURE
                                    )
                  Defendants.       )
____________________________________)


               This matter is before the Court upon the United States' Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 148). The Court has reviewed the record in this case

and finds as follows:

               1. Defendant, Jon Whitaker, has entered into a Plea Agreement, whereby he has

agreed to plead guilty to Counts I and II of said Information. Count I of said Information charges

the defendant with conspiracy to distribute marijuana, a violation of 21 U.S.C. § 846. Count II of

said Information charges the defendant with using $234,050.00 in United States currency to

facilitate the commission of the conspiracy and charges said personal property is derived from

proceeds obtained directly or indirectly as a result of the commission of the conspiracy. The

defendant, Troy Hollenbeck, has pled guilty to Counts I and II of said Superseding Indictment.

Count I of said Superseding Indictment charges the defendant with conspiracy to distribute

marijuana, a violation of 21 U.S.C. § 846. Count II of said Superseding Indictment charges the

defendant with using a 2001 BMW X5 3.01, VIN WBAFA53511LM81711, and a 2001 Honda

Passport, VIN 4S6DM58W814415155, to facilitate the commission of the conspiracy and

charges said personal properties are derived from proceeds obtained directly or indirectly as a
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result of the commission of the conspiracy. Part (b) of Count II of the Superseding Indictment

was dismissed and the 2001 Honda Passport, VIN 4S6DM58W814415155 was returned to the

registered owner.

               2. By virtue of said pleas of guilty, the defendants forfeit their interest in the

subject properties, and the United States should be entitled to possession of said properties,

pursuant to 21 U.S.C. § 853.

               3. The United States' Motion for Issuance of Preliminary Order of Forfeiture

should be sustained. Accordingly,

               IT IS ORDERED:

               A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is

hereby sustained.

               B. Based upon Count II of the Superseding Indictment, Information and the

defendants’ pleas of guilty, the United States is hereby authorized to seize $234,050.00 in United

States currency and a 2001 BMW X5 3.01, VIN WBAFA53511LM81711.

               C. Defendants’ interest in said properties are hereby forfeited to the United States

for disposition in accordance with the law, subject to the provisions of 21 U.S.C. § 853(n)(1).

               D. The aforementioned forfeited properties are to be held by the United States in

its secure custody and control.

               E. Pursuant to 21 U.S.C., § 853(n)(1), the United States forthwith shall publish

for at least thirty consecutive days on an official Government internet site (www.forfeiture.gov)

notice of this Order, Notice of Publication evidencing the United States’ intent to dispose of the

properties in such manner as the Attorney General may direct, and notice that any person, other


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than the defendant, having or claiming a legal interest in any of the subject forfeited properties

must file a Petition with the court within thirty days of the final publication of notice or of receipt

of actual notice, whichever is earlier.

                F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

properties, shall be signed by the Petitioner under penalty of perjury, and shall set forth the nature

and extent of the Petitioner's right, title or interest in the subject properties and any additional

facts supporting the Petitioner's claim and the relief sought.

                G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the properties subject to this Order as a

substitute for published notice as to those persons so notified.

                H. Upon adjudication of all third-party interests, this Court will enter a Final

Order of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

                DATED this 1st day of July, 2010.

                                                BY THE COURT:

                                                /s/ Lyle E. Strom

                                                LYLE E. STROM, Senior Judge
                                                United States District Court




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